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EXHIBIT C

Uv US 34816.) P3308 O01G
Case 1:00-cv-01898-VSB-VF Document 3791-3 Filed 09/06/13 Page 2 of 3

Chang, Haeji

AE aa OTR
To: Riccardulli, Stephen
Subject: RE: RE: MTBE - Commonwealth of Puerto Rico

>>> Alejandro J. Cepeda Diaz 8/24/2013 11:43 AM >>>
Mr. Boone,

| understand from your email that the Commonwealth intentionally failed to provide notice. | fail to see which Rule of
Federal Procedure allows you to perform discovery of persons associated with a defendant without any prior notice to
other parties in the case and particularly the affected defendant We have also learned that you served a subpoena on
Ms. Brenda Torano, a former Sol employee and current employee of PC Puerto Rico, which | believe is also a
defendant. We request that you also withdraw the subpoena to Ms. Torano. We further request that you immediately
inform us of any other subpoenas you chose to serve without notice to any other parties.

>>> "Daniel Boone” <dboone@toxictorts. org> 8/23/2013 5.46 PM >>>

Dear Mr. Cepeda,

Ms. O’Reilly may have additional comments in response to your letter. For my part, | point
out that FRCP Rule 45(b) requires service of a notice on all parties only if the subpoena
commands production of documents, electronically stored information or tangible things, or
the inspection of premises. The subpoena did not command any of these things, so notice on
all parties was not required. Thank you.

Daniel Boone

Miller, Axline & Sawyer

1050 Fulton Avenue, Suite 100

Sacramento, CA 95825-4225

Tel. (916) 488-6688

Fax (916) 488-4288

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disclosure, distribution, or use of information herein or attached is prohibited.

From: Alejandro J, Cepeda Diaz [mailto Aic@mevpr.com)}

Sent: Friday, August 23, 2013 1:19 PM

To: dboone@toxictorts.org; torellly@toxictorts.org

Ce: Jorge J, Garcia-Diaz; Juan A, Marques <Jam@micvpr.com> >
Subject: MTBE - Commonwealth of Puerto Rico

Please refer to the attached letters.
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Valdés = 2

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